Case 18-32106 Document 147 Filed in TXSB on 05/29/18 Page 1 of 5

IN THE UNITED STATES BANKRUPTCY COURT
FOR THE SOUTHERN DISTRICT OF TEXAS

HOUSTON DIVISION

In re: §

§
ERIN ENERGY CORPORATION, et § Case No. 18-32106
al.,l §

Debtors. § Chapter 11
§
§ (Jointly Administered)

DECLARATION OF WUYI OGUNYINKA

l, Wuyi Ogunyinl<a, pursuant to 28 U.S.C. § 1746, hereby declare as folloWs:

l. l am an attorney licensed to practice law in Nigeria and the United States, and
have been licensed to practice lavv in Nigeria since 1989, and admitted to the NeW York Bar in
2000. l am the managing partner of the firm Terra Marine Attorneys, Nigerian counsel to Erin
Petroleum Nigeria Limited (“EPNL”).

2. My practice relates to matters involving corporate and commercial disputes,
including disputes arising from insolvency, restructuring and complex commercial
reorganizations l regularly advise clients in all nature of insolvency proceedings, including
corporate reorganization proceedings under Nigerian laW.

3. This statement is respectfully submitted concerning the Order entered May 24,
2018, by the Federal High Court of Lagos (the “FHC”) in the proceeding In the Maz‘ter of an
Applz`cal‘z'onfor the Regisiration ofa Forel`gn Judgmem by Erz`n Petroleum Nz'gerz'a Lta’., Suit No.

FHC/L/NRJ/3/2018 (the “Domestication Order”). The Domestication Order registers the May l,

 

l The last four digits ofErin Energy Corporation’s (“ERN”) federal tax identification number are 9798. The
other Debtors in these cases are: Erin Energy Limited (“EEL”); Erin Energy Kenya Limited (“EEKL”); and Erin
Petroleum Nigeria Limited (“EPNL”). The Debtors’ service address is: 1330 Post Oak Blvd., Suite 2250, Houston,
TX 77056.

 

Case 18-32106 Document 147 Filed in TXSB on 05/29/18 Page 2 of 5

2018, Order of the United States Banl<ruptcy Court for the Southern District of Texas entered in
the above Chapter ll bankruptcy proceedings (the “Stay Order”).

4. This declaration is comprised of matters that are statements of legal opinion
and/or statements of fact. Where the matters stated in this declaration are statements of legal
opinion regarding Nigerian laW, such statements represent my views as a practicing lawyer.
Where the matters stated in this declaration are statements of legal opinion regarding US laW,
such statements are derived from information supplied to me by United States counsel to Erin.
Where the matters stated in this declaration are statements of fact that are Within my personal
knowledge, they are true. Where the matters stated in this declaration are statements of fact that
are not Within my personal knowledge, they are derived from information supplied to me by or
on behalf of Erin and are true to the best of my knowledge, information, and belief. If called
upon to testify, 1 could and Would testify competently to the matters set forth in this declaration

5 . This declaration is made after reviewing, and in response to, the Declaration of
Mr. Victor C. lgwe (the “lgwe Declaration”), filed With the Court on even date herewith
Contrary to the Declaration of Victor C. lgwe, domesticating and enforcing foreign orders and
judgments in Nigerian Courts is certainly not a novel concept

6. The applicable legislation for the Enforcement of a Foreign Judgment in Nigeria

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a. The Reciprocal Enforcement of Foreign Judgments Ordinance, Cap 175, Laws of
the Federation of Nigeria and Lagos, 1958 (1958 Ordinance”) enacted in 1922 as

L.N. 8, 1922 and;

b. Foreign Judgments (Reciprocal Enforcement) Act, Cap 152, Laws of the
Federation of Nigeria, 1990 ("the 1990 Act’) enacted in 1961 as L.N. 56.

7. The 195 8 Ordinance applies to Commonwealth countries, vvhile the 1990 Act is

applicable to other judgments in respect of vvhich the Minister of Justice has made an order to

 

 

Case 18-32106 Document 147 Filed in TXSB on 05/29/18 Page 3 of 5

that effect pursuant to section 3 (1) of the 1990 Act and in the absence of which Ministerial
Order, the provisions of Section 10 (a.) of the 1990 Act would be applicable

8. lt is noteworthy that the Minister is yet to make any such order extending the
provisions of Part 1 of the 1990 Act to other countries outside of the Commonwealth. As such,
the provisions of Section 10 (a) of the Act remains in force and applicable as follows:

9. Section 10(a) reads as follows:

“Notwithstanding any other provision of this Act_ a judgment given before the

commencement of an order under section 3 of this Act applying Part 1 of this Act

to the foreign country where the judgment was given may be registered within

twelve months from the date of the judgment or such longer period as may be

allowed by a superior court in Nigeria;”

lnstructively, the 1990 Act defines “judgmen ” and “judgment creditor” as

follows:

“judgment” means a judgment or order given or made by a court in any civil
proceedings . . .

“judgment creditor” means the person in whose favour the judgment was givenj

and includes any person in whom the rights under the judgment have become

vested by succession or assignment or otherwise;

10. These definitions clearly cover the Order made by the Bankruptcy Court and
EPNL contrary to the Igwe Declaration that only foreign monetary judgments may be registered
in Nigeria.

ll. The statutory position above on the applicability of Section 10 (a.) of the 1990
Act has received judicial imprimatur by the Nigerian Supreme Court in the case of Macualay v.
R. Z. BAustrz'a, (2009) N.W.LR. (Pt.1149) page 298.

12. In response to the lgwe Declaration that “neither Chapter 11 bankruptcy case not

its effect would be recognized or enforceable in Nigeria”, it is respectfully submitted that the

Case 18-32106 Document 147 Filed in TXSB on 05/29/18 Page 4 of 5

recognition was exactly what has just occurred by the 24 May 2018 Order of the F ederal High
Court.

13. lmportantly, the effect of the Domestication Order of the Federal High Court is
that being a registered judgment it shall, for the purposes of execution, be of the same force and
effect and proceedings may be taken on it as a registered judgment

14. 1n response to Paragraph Nos. 7, 8, 9, and 10 of the lgwe Declaration, the
Domestication Order of the F ederal High Court is not open to any Counsel to sit as an Appellate
Court over that pronouncement

15 . Further, contrary to the speculation that the F ederal High Court “appears” not to
have considered the eligibility of the order for registration, the Learned Trial Judge, the
Honorable Justice Hadiza Rabiu Shagari actually gave a considered ruling which included a
review of the statutory and decisional laws before making the Order that the Judgment of the
United States Bankruptcy Court “is hereby registered”.

16. The implication of the Order made by the Federal High Court is that until a proper
application is made by any of the parties affected (not just by any person) to set same aside and
until same is granted by the Court, the Domestication Grder and the Foreign Judgment, being the
Stay Order of the Bankruptcy Court remains fully in force and binding on all the Respondents
including all the Creditors in Nigeria and enforceable against all the said Respondents.

17. The Nigerian Supreme Court articulated this position in the case of Oba Amos
Babatunde & Ors. v. l\/Ir. Simon Olatunji & Anor (2000) 2 NWLR (Pt. 646) 557 at 572, in the

following terms:

Matters pertaining to judicial orders or judgments, for that matter, are not
generally treated with arrogance or levity. lt is rather treading on a perilous
path for one to arrogate to oneself the right to choose and pick between court
orders in terms of whether they are valid or null and void. ln fact, since there is a

Case 18-32106 Document 147 Filed in TXSB on 05/29/18 Page 5 of 5

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